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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JULIA BRIGGS, Individually and on Behalf              )
Of All Other Similarly Situated,                      )
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )      Case No. 22-cv-03705
                                                      )
STRATEGIC FINANCIAL SOLUTIONS,                        )      Hon. Edmond Chang
LLC, VERSARA LENDING, LLC, and JOHN                   )
DOES 1-100,                                           )
                                                      )
                       Defendants.                    )

                JURISDICTIONAL STATEMENT AND STATUS REPORT

       Defendants StratFS, LLC (f/k/a Strategic Financial Solutions, LLC) and Versara Lending,

LLC (collectively, “Defendants”) respond as follows to the Court’s February 2, 2024 Order (Dkt.

41) requesting a short jurisdictional statement. In addition, Defendants hereby request that this

Court stay the proceedings in this matter pending resolution of certain proceedings in the Western

District of New York. In support thereof, Defendants state as follows:

       1.      On February 2, 2024, this Court entered an order requiring Defendant StratFS to

file a short jurisdictional statement identifying its members and their states of citizenship. (Dkt.

41.) StratFS responds to the Court’s inquiry as follows: StratFS, LLC’s sole member is Strategic

Family, Inc., which is a Delaware corporation with its principal place of business in New York.

       2.      Separately, we write to advise you of a significant event that is likely to impact any

future proceedings in this case. On January 11, 2024, the United States District Court for the

Western District of New York (“Western District Court”) entered a temporary restraining order

barring, inter alia, StratFS and Versara from engaging in certain conduct. The Western District

Court also appointed a temporary receiver for those entities. See Consumer Fin. Prot. Bureau v.
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Blumkin, et al., W.D.N.Y. Case No. 1:24-cv-00040-EAW-MJR at Dkt. 12. The Western District

Court’s order prohibits (with limited exceptions not applicable here) any person from prosecuting

any suit or proceeding against the enjoined parties without leave of the Court. See id. at §

XXI(A)(1). On February 1-2 and February 7, 2024, the Western District Court held a preliminary

injunction hearing, and a ruling is pending. The Western District Court’s ruling in that matter will

impact Defendants’ ability to proceed with this case. Accordingly, Defendants respectfully submit

that this matter should be stayed pending a ruling on the preliminary injunction motion before the

Western District Court (and any resulting appeals).

Dated: February 8, 2024                               Respectfully submitted,

                                                      s/Timothy D. Elliott____________
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                                                      Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 8, 2024, I caused the foregoing document to be filed
electronically with the Clerk of the Court through ECF and to be served upon all counsel of record
by filing the same with the CM/EFC system.

                                                    s/ Timothy D. Elliott




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